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           APPENDIX K
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Exh. 131, Army Corps, Greater New Orleans Hurricane and Storm Damage Risk Reduction
System (HSDRRS) 100-Year Level of Protection, June 13, 2008.

       307. The presence of this type of surge reduction barrier during Hurricane Katrina would

have prevented the significantly magnified surge from overtopping the LPV structures along

both sides of the Reach 1/GIWW channel and the overtopping of the LPV structures along both

sides of the IHNC, thereby averting the resulting catastrophic flooding of New Orleans East, the

Lower 9th Ward, and portions of upper St. Bernard Parish. Exh. 133, IHNC Surge Reduction

Project Fact Sheet at pp. 1-2; Exh. 136, Draft Individual Environmental Report, Improved

Protection on the Inner Harbor Navigation Canal, Orleans and St. Bernard Parishes, Louisiana,

IER #11 Tier 2 Borgne, at pp. 52-53; Exh. 130 (Owen 30(b)(6) Depo. (Oct. 16, 2008)) at 77:9-

78:7; 119:18-121:23; Exh. 138, Louisiana Coastal Area (LCA) Ecosystem Restoration, LA

(General Investigations): Comprehensive Coastwide Ecosystem Restoration Feasibility Study, at

p. 4, ¶ 1.1; Exh. 93, Kemp Supp. Decl. (Oct. 2008) at ¶21, Table 1; ¶¶22, 30, 30(b), 30(c).

Destruction of Wetlands

       308. Before and after the MR-GO’s design and construction, there were feasible means

to prevent the intrusion of saltwater into the Reach 2 channel and the adjoining Central Wetlands

Unit and Golden Triangle and environs while at the same time allowing ship passage. For

example, a man-made saltwater barrier at Bayou La Loutre—a retractable gate—would have

effectively replaced the natural barrier that was severed by the MR-GO construction.

Alternatively, a lock could have been constructed at Bayou La Loutre Ridge. Other technology

for salinity control included inflatable barriers for deployment when there was no ship traffic.

Exh. 96, Fitzgerald Expert Report (July 2008) at p. 2-13, fig. 2.18; p. 6-5; see also Exh. 95,

Day/Shaffer Expert Report (July 2008) at pp. 23, 33-34, 36.




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       309. Both before and after the MR-GO’s opening, there were a number of feasible

measures that could have been undertaken to prevent salinity intrusion into the Central Wetlands

Unite and adjacent areas. These salinity control measures would have prevented much of the

vegetation loss, including the massive die off of bald cypress—water tupelo swamps because

saltwater intrusion would have been significantly reduced. Exh. 95, Day/Shaffer Expert Report

(July 2008) at pp. 33-34, 36.

       310. Many of these salinity control measures were suggested both before and after the

MR-GO’s construction, but the Corps never implemented them at any time over 50 years. Exh.

95, Day/Shaffer Expert Report (July 2008) at p. 33.

       311. In addition, saltwater intrusion into the Central Wetlands Unit could have been

greatly reduced by placing water control structures (before cutting the Bayou La Loutre Ridge)

in openings in the spoil banks between the MR-GO and the Central Wetlands Unit at Bayou

Bienvenue and Bayou Dupre. This was an easy and economical salinity prevention measure.

Exh. 95, Day/Shaffer Expert Report (July 2008) at p. 34.

       312. In addition to feasible salinity control measures, there were proven methods for

wetlands restoration—to revegetate trees killed by saltwater intrusion—that were known to the

Army Corps during the MR-GO’s lifetime. Exh. 95, Day/Shaffer Expert Report (July 2008) at p.

33; Exh. 1989, Letter to John Breaux, U.S. Senate in response to letter dated 09/12/1994

concerning St. Bernard Parish Resolution SBPC #454-08-94 re: Closing the MRGO (NOP-018-

000002658) (10/12/94).

       313. At the time of Katrina, the Corps was creating 300 acres of emergent wetlands near

the MR-GO using dredged spoil materials. Exh. 216, Letter from Don T. Riley to Peter Savoy,

June 17, 2004.




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       314. In addition, wetlands preservation and restoration could have been readily

accomplished by widespread fresh water introduction into the Central Wetlands Unit that would

have buffered any saltwater intrusion and flushed out salt. Sources of freshwater included the

Violet diversion structure and variable operation of water control structures at Bayou Bienvenue

and Bayou Dupre drainage pumps discharging surface runoff into the Central Wetlands Unit, and

freshwater from treated, disinfected municipal effluent (waste water). Exh. 95, Day/Shaffer

Expert Report (July 2008) at pp. 35-36.

Channel Bank Erosion

       315. The massive widening of the Reach 2 channel through bank erosion was

preventable at any time by armoring at its authorized or expanded width to protect the banks

from predicted erosion from ship waves. Exh. 95, Day/Shaffer Expert Report (July 2008) at p.

34.

       316. Before the MR-GO was constructed, the Corps knew that bank protection can be

accomplished by several means, including riprap, rock dikes, armor stone, shell core, and

articulated concrete mattresses. Exh. 208, MRGO, PM-R Proposal for Gaining National

Environmental Policy Act Compliance for the Operation and Maintenance Program (NOP-019-

000000207) (4/11/05); Exh. 1990, Letter to Chief of Engineers, ENGCW-V from Major General

Ellsworth I. Davis, USA, Division Engineer; Subject: Hurricane Protection – LPV – Chalmette

Area (AFW-467-000003416) (3/21/66); Exh. 1991, MRGO Recon, Mile 23 to 27, Computation

Sheet NED-167-000001330 (8/31/93).

       317. An additional benefit of armoring the Reach 2 bank lines is the fact that the

approximately 250 meter area of drainage spoil between the channel bank and the toe of the LPV

structures would have vegetated in salt-tolerant herbaceous plants, shrub-scrub and trees, similar




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       364. The funneling of water down Reach1/GIWW without a surge barrier significantly

enhanced surge levels in that channel and the IHNC by 3 to 3.5 feet during Katrina. Exh. 91,

Kemp Expert Report (July 2008) at p. 125; Exh. 94, Kemp Supp. Decl. (Jan. 2009) at p. 4 citing

Westerink Report (Defendant’s Expert) at Figures 187-196.

Loss of Trees and Wetlands

       365. Over five decades, the pre-MR-GO habitat was dramatically changed by the MR-

GO’s construction, operation, and maintenance in the study area (Central Wetlands, Golden

Triangle, and adjoining areas). The MR-GO directly and indirectly destroyed tens of thousands

of acres of wetlands and cypress forests. PUF Nos. 40-49; Exh. 145, Army Corps, Habitat

Impact of the Construction of the MR-GO, at Table 1, p. 1559 (NED-188-000001511 et seq.);

Exh. 196, Army Corps and Louisiana Department of Natural Resources, “Land Loss and Marsh

Creation, St. Bernard, Plaquemines and Jefferson Parishes—Feasibility Study” (April 1990) at

pp. 18-19; Exh. 95, Day/Shaffer Expert Report (July 2008) at pp. 38-50; Exh. 96 Fitzgerald

Expert Report (July 2008) at pp. 4-1 to 4-9.

       366. The MR-GO destroyed tens of thousands of thriving wetland acres and baldcypress

– water tupelo swamps that had protected Greater New Orleans from hurricane surge and waves.

Exh. 15 at pp. 16-20, 46, Expert Report of John W. Day, Jr. and Gary P. Shaffer (July 11, 2008).

       367. The Army Corps itself estimated that nearly 3,400 acres of fresh/intermediate

marsh, over 10,300 acres of brackish marsh and over 4,200 acres of saline marsh have been

converted to open water or spoil in the study area due to the MR-GO’s construction. In addition,

over 1,500 acres of cypress swamp and levee forest have become disposal area. A total of nearly

20,000 acres of wetlands have been lost and nearly 4,800 acres of shallow open water have been

converted into deep water or disposal area. Habitat shifts caused by saline waters brought in by




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the MR-GO have caused 3,350 acres of fresh/intermediate marsh and 8,000 acres of cypress

swamp to shift to brackish marsh. Approximately 7,500 acres of swamp have converted to

intermediate marsh. In addition, 19,170 acres of brackish marsh and swamp have shifted to

saline marsh. Moreover, if the roughly estimated amount of increased loss is considered, the

area influenced by the MR-GO could have lost over 3,400 acres of wetlands due to increased

tides and salinity. Exh. 145, Army Corps, Habitat Impact of the Construction of the MR-GO at

p. 45.

          368. The Army Corps itself estimated that between 1956 and 1999, there was a loss of

14,800 acres of wetlands in the Central Wetlands Unit due the MR-GO’s construction, operation

and maintenance. Exh. 145, Report of the Environmental Sub-Committee to the MRGO

Technical Committee (Table 1: Habitat Impact of the Construction of the MR-GO) at p. 49

(1999).

          369. Plaintiffs’ experts estimate that, as of 1999, at least 62,220 acres of cypress trees

and wetlands and other valuable marsh habitat were either destroyed or altered due to the MR-

GO’s construction, operation, and maintenance. Exh. 95, Day/Shaffer Expert Report (July 2008)

at p. 46.

          370. Plaintiffs’ experts estimate that, as of 2001, at least 24,263 acres of land along the

Lake Borgne, New Orleans East, South Lake Borgne, Central Wetlands, and St. Bernard areas

were lost as a result of the MR-GO’s construction, operation, and maintenance. Exh. 96,

Fitzgerald Expert Report (July 2008) at pp. 5-1 through 5-6.

          371. Both the Army Corps and Plaintiffs’ experts agree that the reason for such

extensive loss of cypress trees and wetlands in the study area is largely due to saltwater intrusion,

dredging, spoil disposal, bank erosion, and widening of Reach 2 channel. Report of the




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Environmental Sub-Committee to the MRGO Technical Committee (Table 1: Habitat Impact of

the Construction of the MR-GO, et seq.) (1999); Exh. 9, 1988 Recon Report, et seq.; Exh. 95,

Day/Shaffer Expert Report (July 2008) at pp. 40-42; Exh. 96, Fitzgerald Expert Report (July

2008) at pp. 2-4, 6-13, 4-17 to 4-18.

       372. Any loss of cypress trees and wetlands in the study area due to natural subsidence

and other causes (estimated to be between 0.5 and 1.0 cm/yr.) is minimal compared to the loss

attributable to the MR-GO’s construction, operation, and maintenance. Exh. 95, Day/Shaffer

Expert Report (July 2008) at pp. 13, 46.

       373. Over time after construction, the Reach 2 banks widened several times beyond its

design top width of 650 feet, creating an uneven shelf and encroaching upon and eating up

marshland. As the water moves laterally, it destroys marshland because of the shelves that are

being. Exh. 8, O’Cain 30(b)(6) Depo. at 496:23-498:7; 500:1-11.

       374. By 1975, the Army Corps had acknowledged that “[t]he marsh west of the MR-GO

has been significantly modified by, inter alia, the MR-GO channel, existing levees, and by the

hurricane levee now under construction.” Exh. 186, Mississippi River Gulf Outlet New Lock

and Connecting Channels Quantities to Use for Real Estate for Comparative Analysis of 14

Schemes, at AFW-180-000001008, ¶8.

       375. For decades, the Army Corps knew that the MR-GO, through channel widening,

wave erosion, disposal of dredged material, and continuing saltwater intrusion continued to

destroy wetlands at an average loss of 211 acres of marsh per year during the 20-year period

between 1968 and 1987 and a total of 4,200 acres of highly productive marsh adjacent to the

MR-GO channel. Exh. 145, Report of the Environmental Sub Committee to the MRGO




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